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TOGUT, SEGAL & SEGAL LLP
One Penn Plaza, Suite 3335
New York, New York 10119
(212) 594-5000
Frank A. Oswald
Kyle J. Ortiz
Bryan M. Kotliar
Eitan E. Blander
Counsel to the Debtors
and Debtors in Possession
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                   Chapter 11

JPA NO. 111 CO., LTD. and                                Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                         (Jointly Administered)
                            Debtors.
                                   1




               NOTICE OF FILING OF (I) REVISED STALKING
        HORSE PURCHASE AGREEMENT AND (II) REVISED PROPOSED
     SALE ORDER IN CONNECTION WITH THE DEBTORS’ PROPOSED SALE

                 PLEASE TAKE NOTICE that on March 8, 2022, JPA No. 111 Co., Ltd.

(“Debtor MSN 067 Owner”) and JPA No. 49 Co., Ltd. (“Debtor MSN 173 Owner” and,

together with Debtor MSN 067 Owner, the “Debtors”), as debtors and debtors in

possession in the above-captioned cases, filed the Notice of Cancellation of Auction and

Designation of Stalking Horse Bidder as Successful Bidder Pursuant to Revised Stalking Horse

Bid [Docket No. 149] pursuant to which the Stalking Horse Bidder was designated as

the Successful Bidder2 (the “Proposed Purchaser”) for the Debtors’ sale of the Purchased

Assets (the “Proposed Sale”).


1
    The Debtors in these Chapter 11 Cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The
    Debtors’ corporate address is: Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki,
    Chiyoda-Ku, Tokyo 100-0013.
2
    Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such
    terms in the Order (A) Approving Bidding Procedures Relating to the Sale Of Substantially All of the
    Debtors’ Assets; (B) Establishing Stalking Horse Bidders and Approving Bid Protections; (C) Approving
    Procedures of the Assumption and Assignment of Certain Executory Contracts and Unexpired Leases;
    (D) Authorizing Enforcement Actions; (E) Scheduling an Auction and Sale Hearing; and (F) Approving the
    Form and Manner of Notice Thereof [Docket No. 102] (the “Bidding Procedures Order”).
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               PLEASE TAKE FURTHER NOTICE that attached hereto are copies of the

following documents, in substantially final form, relating to the Proposed Sale:

       •       Exhibit A: the form of the revised Stalking Horse Purchase Agreement
               relating to Debtor MSN 067 Owner (the “Revised Stalking Horse Purchase
               Agreement”);3

       •       Exhibit B: a redline of the Revised Stalking Horse Purchase Agreement
               showing changes from the form of the Stalking Horse Purchase
               Agreement previously filed by the Debtors;

       •       Exhibit C: the revised proposed form of order approving the Proposed
               Sale (the “Revised Proposed Sale Order”); and

       •       Exhibit D: a redline of the Revised Proposed Sale Order showing changes
               from the form of proposed sale order previously filed by the Debtors.

               PLEASE TAKE FURTHER NOTICE that the substantially final forms of

the Revised Stalking Horse Purchase Agreement and Revised Proposed Sale Order may

be further revised as a result of ongoing negotiations and/or the Court’s ruling at the

Sale Hearing. The Debtors will file modifications, if any, in advance of the Sale

Hearing.

Dated: March 11, 2022
       New York, New York                      JPA NO. 111 CO., LTD. and
                                               JPA NO. 49 CO., LTD.
                                               Debtors and Debtors in Possession
                                               By their Counsel
                                               TOGUT, SEGAL & SEGAL LLP
                                               By:

                                               /s/ Kyle J. Ortiz
                                               Frank A. Oswald
                                               Kyle J. Ortiz
                                               Bryan M. Kotliar
                                               Eitan E. Blander
                                               One Penn Plaza, Suite 3335
                                               New York, New York 10119
                                               Telephone: (212) 594-5000


3
    The form of the Revised Stalking Horse Purchase Agreement relating to Debtor MSN 173 Owner is
    substantially identical to the Revised Stalking Horse Purchase Agreement relating to Debtor MSN 067
    Owner.


                                                 -2-
